Exhibit “A”                                                                                          Michael W. Davidson
Liquidation Analysis                                                                                 Case No. 18-82270-CRJ


                                                                Liquidation
                                  Asset                                                       Lien                 Equity
                                                                  Value1
                 2616 Memorial Pkwy
                                                                  $250,000                   $0.00                $250,000
                 Huntsville AL
                 2808/2828 Old RR Bed Rd.
                                                                  $500,000                $398,0002               $51,000
                 Harvest, AL (50% interest)
                 130 Shady Lane
                                                                  $500,000                $142,565                $178,717
                 Langston, AL (50% interest)
                 53 Evans Drive
                                                                   $75,000                      $0                $37,500
                 Langston, AL (50% interest)
                 895 Co. Rd. 614
                                                                  $265,000                      $0                $132,500
                 Mentone, AL (50% interest)
                 178 Walton Lakeshore Dr.
                                                                    $3,500                      $0                 $1,750
                 Panama City, FL (50% int)
                 2017 Lincoln Navigator                            $64,170                 $64,170                      $0

                 4x4 John Deere                                     $4,000                      $0                 $4,000

                 Chevrolet Van                                      $1,000                      $0                 $1,000

                 Seadoos (50% interest)                             $3,500                      $0                 $1,750

                 2014 Boat (50% interest)                          $22,500                      $0                $11,250

                 Trailers (50% interest)                             $500                       $0                     $250
                 Household Good Furniture
                                                                    $6,195                                         $6,195
                 (50% interest)
                 Clothing                                            $250                                              $250

                 Jewelry                                            $6,500                                             $6500

                 Savings Acct RFCU (50%)                            $2,000                                         $2,000
                 Checking Acct RFCU
                                                                    $2,000                                         $2,000
                 (50%)
                 Savings Acct RFCU (50%)                            $4,000                                         $4,000



1
    Liquidation value is based upon the Debtor’s best judgment or in some cases based on an existing purchase offer.

2
    Debt is owed by Dean Hudson who owns the other 50% interest in this property.




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        Checking Acct RFCU
                                  $4,000                   $4,000
        (50%)
        Cash on hand              $40.00         $0        $40.00

        IRA                       13,500       Exempt        $0




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